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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                               TERRE HAUTE DIVISION

In Re:                                     )
                                           )
NANCY ANN WHITAKER                         ) Bankruptcy No. 18-80558-JJG-7A
                                           )
                    Debtor(s)              )
                                           )

          TRUSTEE’S FINAL APPLICATION TO ALLOW AND PAY
    COMPENSATION AND EXPENSES FOR ACCOUNTANTS MARIETTA CPAs.

         Trustee Lou Ann Marocco (“Trustee”) for her application to approve payment of final

compensation and expenses for accountants Marietta CPAs (“Application”), states as follows:

         1.    On 09/06/2018, Debtor(s) filed their Voluntary Petition for Relief under Chapter 7

of the United States Code.

         2.    On or about 09/09/2021, Trustee filed her Application for Authority to Employ

Accountant, pursuant to which Application the Trustee prayed for authority to employ Marietta

CPAs to perform accounting services for this bankruptcy estate.

         3.    As stated in the Application, the Trustee sought authorization to hire and engage

the services of Marietta CPAs for the purpose of performing accounting services for this

bankruptcy estate, and authorizing the Trustee to agree to pay Marietta CPAs a fee for its

performance of said accounting services, subject to approval of this Court, in the following

amounts:

         Principal                   $275.00/hour
         Tax Manager                 $200.00/hour
         Senior Accountant           $175.00/hour
         Staff Accountant            $150.00/hour
         Administrator               $95.00/hour


Attached hereto as Exhibit “A” is an itemized statement of the time and expenses of Marietta

CPAs in the preparation of the 2021 Federal and State Bankruptcy Estate Tax Returns for this
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bankruptcy estate.

       4.      As reflected on the itemized statement, Marietta CPAs has expended 10.75 hours

for a total of $1323.30 and has incurred expenses in the amount of $78.10, for a total of

$1401.40.

       5.      Based upon the foregoing, the Trustee prays for authority to allow and pay the

administrative compensation and expense claim of Marietta CPAs in the amount of $1401.40.

       WHEREFORE, Trustee prays that the Court grant authority to allow and pay the

compensation and expense claim of Marietta CPAs in the amount of $1401.40, and all other

relief just and proper in the premises.

                                                     Respectfully submitted,
Dated: February 16, 2022
                                                     /s/ Lou Ann Marocco
                                                     Lou Ann Marocco, Trustee
                                                     P.O. Box 1206
                                                     Greenwood, IN 46142
                                                     Phone: 317-631-0145
                                                     Email: trustee@maroccolawindy.com


                                 CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of the foregoing has been served via electronic
court filing and/or U.S. First Class Mail on the following parties of record this 16th day of
February, 2022.


United States Trustee, ustpregion10.in.ecf@usdoj.gov

J. Andrew Sawin, ECF@SAWINLAW.COM

                                               /s/ Lou Ann Marocco
                                               Lou Ann Marocco, Trustee
                                                P.O. Box 1206
                                                Greenwood, IN 46142
                                                Phone: 317-631-0145
                                                Email: trustee@maroccolawindy.com
